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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                                       **AMENDED**

                              CIVIL MINUTES – GENERAL

   Case No. SA CV 22-00099-DOC-DFM                                       Date: June 8, 2022

   Title: JOHN C. EASTMAN V. BENNIE G. THOMPSON ET AL.

   PRESENT: THE HONORABLE DAVID O. CARTER, U.S. DISTRICT JUDGE

                 Karlen Dubon                                   Not Present
                Courtroom Clerk                                Court Reporter

         ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
               PLAINTIFF:                                  DEFENDANT:
              None Present                                  None Present


         PROCEEDINGS (IN CHAMBERS): ORDER RE: MOTION FOR
                                    EXTENSION OF TIME TO
                                    PRODUCE DOCUMENTS [357]

          Before the Court is Plaintiff Dr. John Eastman’s Motion for Extension of time to
   produce the materials identified in the Court’s June 7 order (Dkt. 357-1). Dr. Eastman
   seeks an extension to next Thursday, June 16, due to upcoming memorials for his late
   father and the scheduled birth of his counsel’s child. The Select Committee agrees to
   accept a rolling production of materials, beginning with documents related to the First
   Amendment issues and those with no identified client (Dkt. 359).

           Accordingly, the Court ORDERS Dr. Eastman to produce documents that the
   Court found were not protected by the First Amendment and those with no identified
   client by 9:00 pm on Wednesday, June 8, 2022. Dr. Eastman is ORDERED to produce
   the remaining documents on a rolling basis, with all documents to be produced by 12:00
   pm on Monday, June 13, 2022.

         The Clerk shall serve this minute order on the parties.

    MINUTES FORM 11                                                Initials of Deputy Clerk: kdu

    CIVIL-GEN
